Lucia Saitta

From: Aaron Twersky <atwersky@twerskylaw.com>

Sent: Friday, June 2, 2023 10:53 AM

To: Leander James; Lucia Saitta; Carla Varriale-Barker

Cc: Darren Sammarco; Troy A. Pacella; lombardi@tolmagepeskinlaw.com; llana Neufeld; Mia
Guttmann; Brianna Espeland

Subject: Re: Sokolovsky Continued Deposition

My client is a party, she is not subject to a subpoena. Subpoenas pertain to non-parties only (in my experience).

Either way, it is clear from our endless exchanges, and the last consent letter filed on the docket, that we agreed that your
client would go first, and then my client. It is also clear that we are not finished with the deposition, and we stopped right
in middle of a topic, when you decided we needed to end at 6 pm.

You can appear and do whatever you need, but my client will not appear on Monday, until your client's deposition is
finished or the issue is resolved by the Court.

Aaron Twersky, Esq.

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PLEASE CALL THE OFFICE TO CONFIRM WIRE INFORMATION.

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attachment(s) from your system. Thank you.

From: Leander James <ljames@jvwlaw.net>

Sent: Friday, June 2, 2023 1:40 PM

To: Aaron Twersky <atwersky @twerskylaw.com>; Lucia Saitta <lucia@jvwiaw.net>; Carla Varriale-Barker
<CVarriale@SMSM.com>

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Mia Guttmann <mguttmann@twerskylaw.com>; Brianna Espeland <brianna@jvwlaw.net>

Subject: RE: Sokolovsky Continued Deposition
